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                                                 MEMORANDUM

 TO:                             Heads and Acting Heads of Departments and Agencies
 FROM:                           Charles Ezell, Acting Director, U.S. Office of Personnel Management
 DATE:                           January 20, 2025
 RE:                             Guidance on Probationary Periods, Administrative Leave and Details



       The U.S. Office of Personnel Management (OPM) is providing the following guidance to
agencies regarding critical potential personnel actions. Specifically, this memorandum deals with
1) probationary periods, and 2) administrative leave and details.

    I.          Probationary Periods

       Probationary periods are an essential tool for agencies to assess employee performance and
manage staffing levels. 1 Employees on probationary periods can be terminated during that period
without triggering appeal rights to the Merit Systems Protection Board (MSPB). 2

        Generally, employees in the competitive service with less than one year of service, and in
the excepted service with less than two years of service, can be terminated without triggering
MSPB appeal rights. 3 This applies to temporary employees on appointments “not to exceed” a
date certain. 4

        No later than January 24, 2025, agencies should identify all employees on probationary
periods, who have served less than a year in a competitive service appointment, or who have served
less than two years in an excepted service appointment, and send a report to OPM listing all such
employees to employeeaccountability@opm.gov, with a copy to Amanda Scales at
amanda.scales@opm.gov. In addition, agencies should promptly determine whether those
employees should be retained at the agency.

    II.         Administrative Leave and Details

          1
           See U.S. Merit Systems Protection Board Report to the President and Congress, The Probationary Period:
A Critical Assessment Opportunity (August 2005),
https://www.mspb.gov/studies/studies/The Probationary Period A Critical Assessment Opportunity 224555.pdf.
          2
        Starkey v. Dep’t of Hous. and Urban Dev., 2024 MSPB 6, ¶ 16; Marynowski v. Dep’t of the Navy, 2012
MSPB 82, ¶ 4 (2012).
          3
         Forest v. Merit Sys. Prot. Bd, 47 F.3d 409, 412 (Fed. Cir. 1995); Holmes v. Merit Sys. Prot. Bd., 655 F.
App’x 816, 818 (Fed. Cir. 2016); see also 5 U.S.C. §§ 7511(a)(1)(A), (C).
          4
              See Forest, 47 F.3d at 410; Holmes, 655 F. App’x at 816.


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        “Federal agencies have the discretion to grant paid administrative leave to employees to
help manage their workforces when it is in their best interest to do so.” 5 The flexibility given to
agencies in using paid administrative leave reflects the fact that “heads of Executive agencies have
broad authority to manage their organizations, including the authority to grant administrative
leave, unless prohibited by law.” 6

        OPM regulations note four pertinent areas where paid administrative leave is appropriate:
(1) “the absence is directly related to the agency’s mission,” (2) “the absence is officially sponsored
or sanctioned by the agency,” or (3) “the absence will clearly enhance the professional
development or skills of the employee in the employee’s current position,” or (4) “the absence is
in the interest of the agency or of the Government as a whole.”7 “An agency must retain the
discretion to grant or not grant administrative leave in any circumstance based on agency
judgments regarding mission needs.” 8

        Placing an employee on paid administrative leave may be an appropriate action where the
agency component in which the employee works is being eliminated or restructured, or where the
agency weighs changes to the individual’s role at the agency as part of a workforce realignment.
It also may be appropriate when a new agency manager determines that the absence of the
employee from the office “is in the interest of the agency or of the Government as a whole.” 9
Agencies are encouraged to use flexibilities associated with paid administrative leave as they
implement agency restructuring initiatives or determine the best ways to manage agency
components going forward.

       In addition, agency heads have broad discretion to detail employees “among the bureaus
and offices of [their] department[s]” for up to 120 days by written order. 10 An agency may
temporarily detail an employee to “unclassified duties.” 11 Such details may provide additional


         5
             Administrative Leave, Investigative Leave, and Notice Leave, 89 Fed. Reg. 10,2256-01 (Dec. 17, 2024).
         6
          U.S. Office of Personnel Management, Fact Sheet: Administrative Leave, https://www.opm.gov/policy-
data-oversight/pay-leave/leave-administration/fact-sheets/administrative-leave/.
         7
             5 C.F.R. § 630.1403(a)(1).
         8
            5 C.F.R. § 630.1403(a)(4). OPM reiterates that while “[t]he effective date for these regulations addressing
administrative leave (subpart N) and investigative and notice leave (subpart O) is 30 days after the date of publication,”
nonetheless “the compliance date is set as 270 days after the date of publication.” 89 Fed. Reg. at 10,2257. That is,
agencies must “ revise and implement their internal policies consistent with the Act within 270 calendar days from
the date OPM prescribes the regulations,” and “[a]gencies are responsible for compliance with time limits provided
for in the Act, these OPM regulations, and any related guidance.” Id. OPM thus believes that agencies are not required
to comply with the administrative leave rule and new regulations until September 13, 2025, the deadline for agencies
to issue their own implementing regulations. OPM requests that agencies not issue any agency-specific rules until
such rules have been reviewed and approved by OPM.
         9
             5 C.F.R. § 630.1403(a)(1).
         10
              5 U.S.C. § 3341.
         11
              Frankel v. Dep’t of Educ., 17 M.S.P.R. 453, 455–56 (1983).


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flexibilities to agencies during the transition period and as agencies undertake reorganization
efforts and close offices.

      Please do not hesitate to contact OPM if you have any questions regarding these matters at
employeeaccountability@opm.gov, with a copy to Amanda Scales at amanda.scales@opm.gov.

cc: Chief Human Capital Officers (CHCOs), Deputy CHCOs, and Human Resources Directors




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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF MARYLAND



J. DOE 1, et al.,

                    Plaintiffs,
                                                   Case No. 8:25-cv-00462-TDC
         v.

ELON MUSK, et al.,

                    Defendants.



                           DECLARATION OF PETER MAROCCO
      I, Peter Marocco, pursuant to 28 U.S.C. 1746, hereby declare as follows:

      1. I am over 18 years of age, of sound mind, and otherwise competent to make this

          declaration. This declaration is based on my personal knowledge and information

          provided to me in my official capacity by others.

      2. Since Thursday, January 30, 2025, I have performed the duties and functions of

          Deputy Administrator of the United States Agency for International Development

          (USAID). Since January 20, 2025, I have also served as the Director of Foreign

          Assistance at the Department of State (State). Previously, I served as a U.S. Marine

          and a Deputy Assistant Secretary at both the Department of State and the Department

          of Defense. Additionally, I served on a special assignment as the Senior Advisor for

          Intelligence and Security to the Secretary of Commerce and served as the Assistant to

          the Administrator at USAID, overseeing the Bureau for Conflict Prevention and

          Stabilization.

      3. On January 20, 2025, President Trump issued an Executive Order—“Reevaluating


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    and Realigning United States Foreign Aid”—directing a 90-day pause in foreign

    development assistance, to allow for an “assessment of programmatic efficiencies and

    consistency with United States foreign policy.” See Executive Order, Reevaluating

    and Realigning United States Foreign Aid (Jan. 20, 2025), attached as Exhibit A.

    Further, on January 24, 2025, Secretary of State Rubio, consistent with that Executive

    Order, directed a “pause[]” on “all new obligations of funding, pending a review, for

    foreign assistance programs funded by or through the [State] Department and

    USAID.” See Secretary of State ALDAC re Executive Order on Review of Foreign

    Assistance Programs, 25 STATE 6528 (Jan. 24, 2025), attached as Exhibit B.

 4. In both my role as the Director of Foreign Assistance, which oversees USAID’s

    delivery of foreign aid, and now in my role managing USAID’s operations, my primary

    focus has been to develop a tracking system to achieve greater accountability of

    USAID’s human resources and capital outlays across its global footprint.

    Accountability and effective controls are essential to ensuring that USAID’s programs

    further, rather than undermine, the foreign policy and national interests of the United

    States.

 5. To that end, beginning shortly after the President’s Executive Order directed the 90-

    day foreign assistance pause on January 20, 2025, I made numerous requests for

    information about USAID’s operations, programs, and compliance with the President’s

    directives. In both of my roles, I have consistently found USAID’s senior staff were

    unwilling or unable to provide basic compliance and oversight information. For

    example, senior professionals in USAID’s Bureaus and finance, legal, and human

    capital groups were not able to identify who, when, and why dozens of specific, multi-



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    million-dollar payments were approved or disbursed in the days following the

    President’s and Secretary’s directives to pause most USAID disbursements and

    programs. USAID senior staff were not able to explain whether USAID’s payments

    system contained any controls to ensure compliance with those directives and, if so,

    how those processes worked. After the Secretary approved waivers to permit specific

    programs or activities to continue, USAID staff have been consistently unable to

    identify which specific payments were affected by the waivers and should be released

    for disbursement. It took more than two days for USAID senior staff to produce a list

    of overseas personnel and their physical location despite repeated and direct requests.

 6. This lack of clear or timely information sharing caused grave concern about whether

    USAID was faithfully following the President’s and Secretary’s directives. Those

    concerns were amplified when, in the days just before and following Secretary Rubio’s

    directive, USAID leadership became aware that a group of USAID employees were not

    complying with the President’s Executive Order and the Secretary’s order and

    continued to permit new funding obligations paused by those directives. In the days

    following the Secretary’s order, USAID leadership conducted a review of USAID

    operations and identified certain employees who were responsible, directly or

    indirectly, for permitting the unauthorized flow of funds in violation of these

    Presidential and Secretarial directives.

 7. Moreover, the noncompliance identified by USAID leadership raised serious, systemic

    concerns about the management and processes governing USAID. As articulated by

    Secretary Rubio, and consistent with the views of the President, USAID’s foreign

    assistance processes reflected signs of severe inefficiency, and a substantial number of



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    the programs funded by USAID neither substantially benefited the American people,

    nor reflected the priorities of the President and Secretary. Many of USAID’s programs

    substantially overlap, conflict, or duplicate functions at the Department of State, which

    often leads to discord in the President’s ability to carry out foreign relations with one

    voice. Furthermore, many of USAID’s pre-existing programs were in conflict with the

    directives and priorities of the President and Secretary, and therefore were inconsistent

    with the public interest and foreign policy judgments of the Executive Branch. Given

    the scale of these programs, an ad hoc review of these conflicting programs would

    unduly burden the execution of the President’s other foreign policy priorities. A

    blanket pause with a waive-in process was the more efficient and effective path.

 8. In light of these problems, on January 30, President Trump directed Secretary of State

    Rubio to perform the functions and duties of the Administrator of USAID in an acting

    capacity; the prior Acting Administrator returned to his prior position as Chief

    Information Officer. Several days later, Secretary Rubio sent a letter to Congress,

    formally notifying them, consistent with applicable law, including sections 7063 and

    7015 of the Department of State, Foreign Operations, and Relation Programs

    Appropriations Act, 2024 (Div. K, P.L. 118-47), as carried forward by the Continuing

    Appropriations Act, 2025 (Div. A, P.L. 118-83), of “our intent to initiate consultations

    with you regarding the manner in which foreign aid is distributed around the world

    through [USAID],” including the review and potential reorganization of USAID and

    the potential absorption by the Department of State of certain bureau, offices, and

    mission of USAID. See February 3, 2025 Letter to the Chairs and Ranking Members

    of the House Committee on Foreign Affairs, the Senate Committee on Foreign



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    Relations, and the House and Senate Committees on Appropriations, attached as

    Exhibit C. The letter further stated that Secretary Rubio had delegated to me the duties

    of Deputy Administrator of USAID, “to begin the process of engaging in a review and

    potential reorganization of USAID’s activities to maximize efficiency and align

    operations with the national interest.” Id.

 9. The first step of this review, in essence, involved the majority of USAID pausing a

    substantial portion of its ongoing work—going “pencils down”—so that the Secretary

    and USAID leadership could gain control of an organization that included some

    employees who had refused to comply with lawful directives by the President and the

    Secretary, directives designed to identify wasteful or fraudulent programs or those

    contrary to the foreign policy interests of the United States. The pause of ongoing work

    and use of paid administrative leave enabled USAID leadership to begin a thorough

    review of USAID’s operations and align its functions to the President’s and Secretary’s

    priorities, without continued noncompliance by former USAID leadership and

    management undermining those priorities. Pausing a majority of USAID’s work was,

    and remains, necessary to continue this thorough review into the noncompliance issues

    first identified, as well as to continue to examine USAID’s processes and the manner

    by which USAID funds its programs. Only by engaging in this audit and review, can

    USAID leadership and the Secretary ensure that USAID’s funding decisions aligned

    with the foreign policy priorities of the United States. This audit and review would

    have been ineffective and would have been inconsistent with the public interest if

    USAID’s then extant operations remained unchecked. Indeed, our experience with

    widespread noncompliance with initial stop-work directives raised serious doubt about



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    whether USAID leadership would have received necessary information in a timely

    manner and also whether directives of USAID leadership would be promptly and

    faithfully complied with. Instead, the best course was an across-the-board pause, where

    USAID leadership could then determine on a more targeted basis which programs

    continued to make sense for the American people, and which did not.

 10. At the time the general pause on foreign aid was issued, Secretary Rubio issued four

    waivers for:    foreign military financing for Israel and Egypt, emergency food

    assistance, related administrative expenses, and legitimate expenses incurred before the

    pause went into effect. In the days following the general pause on foreign aid, Secretary

    Rubio adopted a waiver process to ensure that important aid programs within the

    national interest would be able to continue during the period of review. For instance,

    on January 28, Secretary Rubio issued an emergency humanitarian waiver for life-

    saving humanitarian assistance programs. Along with this general waiver, the State

    Department issued case-by-case waivers, based on specific programs. Consistent with

    this approach to foreign assistance administered by the State Department, a similar

    pause and waiver process applied to USAID’s operations to ensure they too are aligned

    with the President’s and Secretary’s priorities. And the humanitarian waiver just noted

    (among others) applied in full measure to USAID programs.

 11. There are 4,765 direct hire full-time equivalent employees at USAID.            USAID

    identified an initial set of 58 employees who were placed on paid administrative leave

    on Monday, January 27, 2025. This group included senior staff who engaged in non-

    compliance vis-à-vis the funding pause and stop-work orders or other acts of

    insubordination or questionable contracting practices or who were charged with



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    managing and administering initiatives no longer deemed to be in the national interest

    (e.g., DEI programs). On Saturday, February 1, 2024, an additional 57 employes were

    placed on administrative leave, many of whom engaged in similar acts of

    insubordination, deceit, or non-compliance with Executive Orders or USAID

    leadership directives.

 12. USAID leadership ultimately determined that the placement of a substantial number of

    USAID personnel on paid administrative leave was the only effective way to pause

    operations, faithfully implement the pause, and conduct a full and unimpeded audit of

    USAID’s operations and programs, consistent with the President’s and Secretary’s

    directives. Accordingly, on Monday, February 3, 2025, USAID placed an additional

    606 employees on paid administrative leave; on Tuesday, February 4, 2025, another

    1,416 employees were placed on paid administrative leave. On February 7, 2025,

    before the court in American Foreign Service Assoc., et al. v. President Donald Trump,

    et al., No. 1:25-cv-00352-CJN (D.D.C.), issued a temporary restraining order,

    approximately 2,140 total USAID U.S. direct hires were on paid administrative leave.

    To the best of my knowledge, none of these employees were located in high-risk

    countries, such as Syria.

 13. Approximately 98% of the 2,140 employees on paid administrative leave as of

    February 7, 2025, were physically located within the Continental United States, with

    the remaining located in developed counties like the United Kingdom or Hungary

    where employees face little risk of physical danger and where USAID has little to no

    mandate. USAID did not intentionally place any employee in a high-risk location on

    paid administrative leave. Upon being informed that several employees might have



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    temporarily been in high-risk locations, USAID immediately removed those employees

    from administrative leave and fully restored their preexisting access to all USAID and

    other government systems.

 14. As is customary, each of the employees placed on administrative leave had their access

    restricted to USAID digital systems, including their USAID-sponsored email accounts.

    Given the sensitivity of government information systems, the need to protect sensitive

    government information, to avoid the risk of data breach, and to maintain the integrity

    of the ongoing pencils down review, USAID leadership thought it prudent to restrict

    access for those employees temporarily removed from their regular duties by being

    placed on paid administrative leave. As noted, these were employees physically

    located in the United States or other safe, developed nations where restricting their

    access to USAID systems posed minimal risk of danger. I am unaware of any employee

    in a dangerous location such as Syria whose access was impacted.

 15. During this same period, and following the same principles, USAID leadership

    approved the termination of nearly 800 personal service contractors (PSCs), who

    performed work in the United States or high- or upper-middle-income countries, as

    defined by the World Bank. USAID has either preserved or restored access to the

    overwhelming majority of overseas PSCs—and to the best of my knowledge, all PSCs

    who may be in dangerous locations or frontline aid delivery countries. USAID will

    diligently work to restore access to any employee or PSC whose access was terminated

    in error.

 16. As part of this effort to pause work at USAID, USAID leadership also conducted a

    review of its employees to identify which employees were essential—i.e., those who



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    are responsible for mission-critical functions, core leadership, and those who work on

    specially designated programs—and who should not be placed on administrative leave.

 17. Over the course of the first week in February, USAID leadership initially determined

    that approximately 611 employees qualified as essential to perform USAID’s required

    duties and to facilitate orderly contingency and audit operations. For example, many

    employees in the travel office were deemed essential because they would be

    responsible for helping USAID employees abroad come home to the United States, if

    they wished to do so. Essential personnel also included subject matter experts from

    most parts of USAID such as the regional bureaus; a large contingent of personnel

    administering and overseeing emergency humanitarian, food, and medical assistance;

    information systems managers; security officers; legal counsel; the Chief Human

    Capital Officer and other human resources employees, contracting officers and others.

    The process of selection included senior political and career leaders who carefully

    contemplated an essential staff level.

 18. As part of its efforts to pause work and facilitate an audit of USAID’s operations,

    USAID had planned to place another approximately 2,104 employees on paid

    administrative leave beginning on 11:59 p.m. on Friday, February 7, 2025.

 19. Following the D.C. District Court’s February 7, 2025 Order, however, USAID did not

    place any additional employees on administrative leave, and reinstated all employees

    previously placed on any form of administrative leave. Moreover, USAID restored

    access to email, payment, and security notification systems to those employees whose

    access was previously limited or shut off.




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 20. Before the D.C. District Court’s February 7, 2025 Order, USAID’s website indicated

    that all non-essential employees would be placed on administrative leave that evening.

    After this Court’s Order, however, USAID removed that message from its website.

    Moreover, USAID sent an email notice of the Order to all USAID employees.

 21. On Thursday, February 13, a different judge on the District of Columbia District Court

    issued a temporary restraining order blocking certain foreign aid determinations.

 22. On Friday, February 21, the District Court in American Foreign Service Assoc., et al.,

    denied a motion for further injunctive relief, and let its prior temporary restraining order

    expire.

 23. All of the actions described above at USAID were taken by Secretary Rubio or myself,

    or USAID employees at one of our directions.

 24. Neither Elon Musk nor USDS has any formal authority over me. Neither has the

    independent legal authority to direct me or anyone at USAID regarding access to

    USAID data or systems; to alter or restore email communications; to manage personnel

    or take personnel actions; to take any action with respect to grants, contracts, and other

    agreements; or to take any other similar governmental action.

 25. Consistent with the President’s Executive Order, E.O. 14158, Sec. 3(c), 90 Fed. Reg.

    8441 (Jan. 20, 2025), I sometimes consult or coordinate with policymakers and others

    at USDS. But I am entitled to disregard their suggestions. I report to Secretary Rubio

    and President Trump, not Elon Musk or USDS.

 26. Following the President’s Executive Order, but before Secretary Rubio was designated

    as Acting Administrator and delegated to me the duties of Deputy Administrator, the

    Agency established a “DOGE Team” at USAID. E.O. 14158, Sec. 3(c). All Team



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    members have been detailed to USAID from other federal agencies, not USDS. They

    are treated as employees of USAID, and report to USAID leadership including

    Secretary Rubio and me, with supervisory duties assigned to the White House Liaison,

    when performing USAID duties.

 27. Following the President’s Executive Order, I consult with the DOGE Team on certain

    matters, including personnel. E.O. 14210, Sec. 3(b)(ii), 90 Fed. Reg. 9669 (Feb. 14,

    2025). But Secretary Rubio and I have ultimate authority over those decisions; the

    DOGE Team cannot legally direct me to do anything regarding personnel, funding, or

    the like.



    Executed this 22nd day of February, 2025

                                                   /s/ Peter Marocco

                                                   ___________________
                                                   PETER MAROCCO




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                                         (c) This order is not intended to, and does not, create any right or benefit,
                                       substantive or procedural, enforceable at law or in equity by any party
                                       against the United States, its departments, agencies, or entities, its officers,
                                       employees, or agents, or any other person.




                                       THE WHITE HOUSE,
                                       January 20, 2025.


[FR Doc. 2025–02091
Filed 1–29–25; 11:15 am]
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